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12                               UNITED STATES DISTRICT COURT

13                            NORTHERN DISTRICT OF CALIFORNIA

14                                     SAN FRANCISCO DIVISION

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16   IN RE: CATHODE RAY TUBE (CRT)                    Case No. 3:07-cv-05944-SC
     ANTITRUST LITIGATION                             MDL NO. 1917
17
                                                      Individual Case No.: 3:11-CV-06397-SC
18   This Document Relates to:

19          Case No. 3:11-06397-SC                    [PROPOSED] ORDER REGARDING
                                                      BRIEFING SCHEDULE FOR THE
20   COSTCO WHOLESALE CORPORATION,                    PHILIPS DEFENDANTS’ MOTION, IN
                                                      THE ALTERNATIVE TO DISMISSAL,
21                        Plaintiff,                  TO COMPEL ARBITRATION
22                v.

23   HITACHI LTD., et al.,

24                        Defendants.

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     [PROPOSED] ORDER REGARDING BRIEFING SCHEDULE FOR THE PHILIPS DEFENDANTS’
     MOTION, IN THE ALTERNATIVE TO DISMISSAL, TO COMPEL ARBITRATION
     Case No. 3:07-cv-05944-SC
     Case 4:07-cv-05944-JST Document 1892-1 Filed 09/05/13 Page 2 of 2



 1                                         [PROPOSED] ORDER
 2           Pursuant to the Stipulation Regarding Briefing Schedule for the Philips Defendants’

 3   Motion, in the Alternative to Dismissal, to Compel Arbitration, between Plaintiff Costco

 4   Wholesale Corporation (“Costco”) and Defendants Koninklijke Philips N.V. and Philips

 5   Electronics North America Corporation (collectively the “Philips Defendants”), and for good

 6   cause showing, it is hereby ordered as follows:

 7           1.      The deadline for Costco to file its Opposition to the Philips Defendants’ Motion to

 8   Compel shall be October 21, 2013;

 9           2.      The deadline for the Philips Defendants to file their Reply Brief in support of their

10   Motion to Compel shall be November 13, 2013;

11           3.      The Philips Defendants’ Motion to Compel shall be heard on December 6, 2013,

12   or at such time as the Court deems appropriate.

13   IT IS SO ORDERED.

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15   DATED: ___________________________                      _______________________________
                                                             Hon. Samuel A. Conti
16                                                           United States District Judge
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     [PROPOSED] ORDER REGARDING BRIEFING SCHEDULE FOR THE PHILIPS DEFENDANTS’
     MOTION, IN THE ALTERNATIVE TO DISMISSAL, TO COMPEL ARBITRATION
     Case No. 3:07-cv-05944-SC
